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         ORDERED in the Southern District of Florida on December 30, 2019.




                                                          Scott M. Grossman, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov

         In re:

         Manuel Gomez                                                Case No. 16-16796-SMG
                                                                     Chapter 13

                                  Debtor                      /

                               AMENDED AGREED ORDER TO EMPLOYER
                          TO DEDUCT AND REMIT AND FOR RELATED MATTERS


         TO:      Miami Dade County Public Schools (The Employer)
                  Attn: Payroll Department (Suite 614)
                  1450 Northeast Second Avenue
                  Miami, Florida 33132

                  The above-named debtor has voluntarily filed a petition and plan under chapter 13

         of the United States Bankruptcy Code, seeking to pay, in whole or in part, certain debts

         under the protection of this court. These debts are to be paid by the chapter 13 trustee



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from the debtor's future earnings. It is public policy that the employer shall assist in the

rehabilitation of the debtor to avoid a chapter 7 liquidation pursuant to 11 U.S.C. §

1325(b). Accordingly, pursuant to Local Rule 3070-1(D), this court orders:

        1.      The employer immediately shall begin withholding from wages, salary,

commission, or other earnings or income of said debtor as follows: December 2019 in the

amount of $55.00 per month and from January 2020 through May 2021 in the amount of

$ 469.28 per month and remit this amount by check (with the debtor’s name and case

number indicated on the check) payable to following assigned chapter 13 trustee:

        X Robin R Weiner, P.O. Box 22258, Memphis, TN 38101-2258

        2.      The employer is enjoined and restrained from discharging, terminating,

suspending, or discriminating against the debtor for any reason whatsoever in connection

with the filing of the chapter 13 petition or this wage-deduction order, the employer is

ordered further to notify the trustee of the discharge, termination, suspension, or

discriminatory action, and the specific reason(s).

        3.      If a summons of garnishment concerning the debtor has been served on the

employer, this chapter 13 case automatically enjoins and stays the continuation of that

garnishment proceeding pursuant to 11 U.S.C. § 362(a); and the employer is enjoined

and stayed from making any further deductions from the debtor's earnings on account of

the garnishment, and is ordered to remit immediately to the chapter 13 trustee any sums

already deducted and not yet paid over to the garnishment court.

        4.      This order supersedes any previous order of garnishment or other order

issued with respect to the debtor's wages, except for income deduction orders regarding

child support, alimony and related support arrearages. Such support orders shall remain

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